Case 2:04-cV-02401-.]DB-STA Document 12 Filed 05/23/05 Page 1 of 3 Page|D 19

IN THE UN]TED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

MARY L. LAB ARRE,

 

Plainti ff,

v. No. 04-2401 B An

MEMPH]S LIGHT, GAS &
WATER DlVISION,

Defendant.

 

ORDER TO SHOW CAUSE WHY DEFENDANT’S MOTlON TO DlSl\/IISS
AND STR_IKE CLAIM FOR PUNITIVE DAMAGES SHOULD NOT BE GRANTED

 

Before the Court is the April ll, 2005 motion ofthe Defendant, Memphis Liglit, Gas &
Water Division, to dismiss and strike claim for punitive damagesl According to the Court's docket,
no response has been filed on behalfof the Plaintifl`, even thc ugh the deadline for such a response
has expiredl

Accordingly, the P]aintiffis hereby directed, Within eleven (l l) days of the entry hereol`, lo
show cause Why the motion referenced herein should not be granted Failure of the Plaintiff to
comply in a timely manner with this order may result in dismissal vvith prejudice of the Plaintit`l‘s

claims.

 

lUnder the Local Rules ofthis district, responses to motions to dismiss "must be filed
Within thirty days of service of the motion.“ LR7.2, Local Rules ofthe U.S. Dist. Ct. for the W.
Dist. of Tenn.

This document entered on the docket sheet 1a compliance
Witn Ru!e 58 andjor 79(3) FHCP on ' ’

Case 2:04-cV-O2401-.]DB-STA Document 12 Filed 05/23/05 Page 2 of 3 Page|D 20

lT lS SO ORDERED this Q§§ day ofMa , 2005.

 
  

 

 

ITE STATES DISTRICT JUDGE

DIsTRICT oURT - WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02401 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

